
32 Mich. App. 354 (1971)
188 N.W.2d 643
PEOPLE
v.
LOGAN
Docket No. 10126.
Michigan Court of Appeals.
Decided April 2, 1971.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, William L. Cahalan, Prosecuting Attorney, Dominick R. Carnovale, Chief, Appellate Department, and Luvenia D. Dockett, Assistant Prosecuting Attorney, for the people.
Carl Ziemba, for defendant on appeal.
*355 Before: DANHOF, P.J., and HOLBROOK and BRONSON, JJ.
PER CURIAM.
After a nonjury trial the defendant was convicted of attempted larceny from a person, MCLA § 750.92 (Stat Ann 1962 Rev § 28.287) and MCLA § 750.357 (Stat Ann 1954 Rev § 28.589). He now contends that the people failed to indorse two alleged res gestae witnesses.
The identity of one of the witnesses became known at the preliminary examination and the defendant did not move that his name be indorsed or demand his production. This issue may not be raised for the first time on appeal. People v. Rimson (1966), 3 Mich App 713; People v. Printess C. Jackson (1968), 11 Mich App 727.
The record does not show that the second witness was in fact a res gestae witness. Also, even if he were a res gestae witness, his identity became known at the trial and the defendant did not move that his name be indorsed.
Affirmed.
